      Case 2:10-cr-00547-RFB-PAL                Document 800   Filed 04/08/13       Page 1 of 2




DANIEL G. BOGDEN
United States Attorney
PATRICK WALSH
Assistant United States Attorney
333 Las Vegas Blvd South, Suite 5000
Las Vegas, Nevada 89101
(702) 388-6271

                             UNITED STATES DISTRICT COURT
                                     District of Nevada



  UNITED STATES OF AMERICA,                 )                  Case No. 2:10-CR-00547-RLH-PAL
  Plaintiff,                                )
                                            )
        v.                                  )                  PETITION FOR ACTION
                                            )                  ON CONDITIONS OF
  Demetha BROWN JACKSON                     )                  PRETRIAL RELEASE
  Defendant                                 )



        Attached hereto and expressly incorporated herein is a Petition for Action on Conditions of

  Pretrial Release concerning the above-named defendant prepared by Zack Bowen, Pretrial Services

  Officer. I have reviewed that Petition and believe there is sufficient credible evidence which can

  be presented to the Court to prove the conduct alleged, and I concur in the recommended action

  requested of the Court.

       Dated this 5th day of April, 2013.


                                                               DANIEL G. BOGDEN
                                                               United States Attorney


                                                               By    /S/
                                                                    PATRICK WALSH
                                                                    Assistant U. S. Attorney
         Case 2:10-cr-00547-RFB-PAL         Document 800        Filed 04/08/13      Page 2 of 2
PS 8
(8/88)

                           UNITED STATES DISTRICT COURT
                                       for the
                                DISTRICT OF NEVADA

U.S.A. vs. DEMETHA BROWN JACKSON                       Docket No. 2:10-CR-00547-RLH-PAL-5

                         Petition for Action on Conditions of Pretrial Release

        COMES NOW ZACK BOWEN, PRETRIAL SERVICES OFFICER, presenting an official
report upon the conduct of defendant Demetha Brown Jackson, who was placed under pretrial
release supervision by Honorable Peggy A. Leen, sitting in the Court at Las Vegas, on October 29,
2010, on her Personal Recognizance with the following conditions:

1. Pretrial Services supervision.
2. Maintain residence.

             Respectfully presenting petition for action of Court and for cause as follows:

The defendant failed to surrender to the Bureau of Prisons on April 5, 2013 as directed for service
of sentence.

PRAYING THAT THE COURT WILL ISSUE A SUMMONS, AND A HEARING BE HELD TO
SHOW CAUSE WHY PRETRIAL RELEASE SHOULD NOT BE REVOKED.

  ORDER OF COURT                                I declare under penalty of perjury that the
                                                information herein is true and correct.
  Considered and ordered this 8th day of April Executed on this 5th day of April, 2013.
  2013 and ordered filed and made a part of the
  records in the above case.                    Respectfully Submitted,



  Honorable 5RJHU/+XQW                            Zack Bowen
  United States 'LVWULFW Judge                       United States Pretrial Services Officer

                                                     Place: Las Vegas, Nevada
